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   5    Attorneys for Debtors
   5
   6
   6
   7                        IN THE UNITED STATES BANKRUPTCY COURT
   7
   8                                 FOR THE DISTRICT OF ARIZONA
   8
   9    In re:                                            CHAPTER 7
   9
  10    IGOR KRAVCHENKO and ELENA                         Case No. 2:18-bk-15371-MCW
  10    ADREANA DALI KRAVCHENKO fka
  11    Yelena Kravchenko,                                DEBTORS’ STATEMENT OF POSITION
                                                          REGARDING DOCKET ENTRY 24
  11
  12                   Debtors.
  12
  13             Igor Kravchenko and Elena Adreana Dali Kravchenko fka Yelena Kravchenko
  13
  14    (“Debtors”), by and through undersigned counsel, hereby submit this Statement of Position
  14
  15    Regarding Docket Entry 24.
  16
  15             I.    Introduction
  17
  16             The Debtors file this Statement of Position to respond to Leonid Grinberg’s
  18
  17    (“Grinberg”) March 20, 2019 letter (the “Letter”) sent to the Court. The allegations contained
  19    in the Letter are either outright false or deliberately misleading. It is difficult to imagine more
  18
  20    inflammatory allegations than those contained in the Letter; in a single paragraph, Grinberg
  19
  21    implies that Dr. Kravchenko was investigated by the FBI, the U.S. Attorney’s Office, the U.S.
  20
  22    Trustee, the OIG, ICE, and the SEC. In addition to Grinberg’s Grishamesque allegations
  21
  23    against the Debtors, he also alleges that the Debtors omitted and undervalued a handful of
  22
  24    assets on their Bankruptcy Schedules. The Debtors submit this Statement of Position to correct
  23
  25    the record.
  24
  26    ///
  25
  27    ///
  26
  28    ///

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Case 2:18-bk-15371-MCW            Doc 36 Filed 05/03/19 Entered 05/03/19 15:53:20               Desc
                                  Main Document    Page 1 of 15
   1               II.      Background

   2                        A. The Grinberg Lawsuit and Dr. Kravchenko’s First Bankruptcy.

   33              Dr. Kravchenko immigrated to the United States from Ukraine in 1992 initially on

   44   refugee status, fleeing antisemitism in the former USSR. 1 After emigrating, Dr. Kravchenko

   5    married Tanya Grinberg, the daughter of Leonid Grinberg.                       In 2004, Tanya approached
   5
   6    Grinberg regarding a potential investment in a business Tanya was starting for a medical
   6
   7    supply company, Cunningham Medical Equipment. The loan was not formally documented,
   7
   8    but in exchange for an investment of $100,000, Grinberg would receive equity in Tanya’s
   8
   9    business. Ultimately, the business for which Tanya and Dr. Kravchenko received the loan and
   9
  10    her marriage to Dr. Kravchenko failed, leading to a divorce in 2009 and Tanya’s bankruptcy
  10
  11    filed in the Northern District of Illinois case number 10-00203.
  11
  12               When the marriage between Dr. Kravchenko and Tanya began to deteriorate, he moved
  12
  13    to Arizona. After Dr. Kravchenko moved to Arizona, Grinberg sued Dr. Kravchenko in the
  13
  14    Cook County Circuit Court, case number 2009-L-008986, and characterized his investment in
  14
  15    Tanya’s business as a debt. Dr. Kravchenko hired Leonard Sominsky to represent him in a
  16
  15    bankruptcy, which Mr. Sominsky filed on Dr. Kravchenko’s behalf on January 30, 2012, case
  17
  16    number 2:12-bk-01705. The bankruptcy petition had the temporary effect of staying the
  18
  17    Ginsberg’s litigation against Dr. Kravchenko in the Illinois Circuit Court. However, because
  19    no schedules or statements were filed on Dr. Kravchenko’s behalf, the case was summarily
  18
  20    dismissed on February 23, 2012 [2:12-bk-01705, Dkt. No. 13]. With the automatic stay no
  19
  21    longer in place and Dr. Kravchenko lacking counsel, Grinberg’s lawsuit moved to judgement
  20
  22    on June 12, 2012.
  21
  23                        B. Global Anesthesia LLC and Dr. Kravchenko’s Second Bankruptcy.
  22
  24               In 2009, Dr. Kravchenko and Dr. Saman Farnoush formed Global Anesthesia LLC
  23
  25    (“Global”). In 2012, Dr. Kravchenko transferred his interest in Global to his wife and Co-
  24
  26
  25
  27
        1
            Dr. Kravchenko obtained his United States citizenship in the late 1990s.
  26
  28

       {00162873 2}
Case 2:18-bk-15371-MCW                               -2-
                                      Doc 36 Filed 05/03/19  Entered 05/03/19 15:53:20                 Desc
                                      Main Document    Page 2 of 15
   1    Debtor Elena Kravchenko. Due to Dr. Kravchenko’s 2012 bankruptcy, he had a poor credit

   2    score and transferring ownership of Global to Ms. Kravchenko ultimately enabled Global to

   33   obtain a business loan. Dr. Farnoush also transferred his interest in Global to his wife, Yulia

   44   Brychenko. Until approximately 2014, Global was a successful medical practice and Dr.

   5    Farnoush and Dr. Kravchenko received salaries, and profits were divided to the equity holders
   5
   6    of the business, Ms. Kravchenko and Ms. Brychenko.
   6
   7           In 2013, after Grinberg garnished Dr. Kravchenko’s bank account and scheduled a
   7
   8    debtor’s examination, he again consulted Mr. Sominsky to file a bankruptcy on his behalf.
   8
   9    Although Dr. Kravchenko would have been a good candidate for a Chapter 11 bankruptcy
   9
  10    because of his income and debt levels, his case was filed as a Chapter 13. During Dr.
  10
  11    Kravchenko’s bankruptcy a number of strategic choices were made by his counsel that put him
  11
  12    at odds with the Chapter 13 Trustee such as failing to include Ms. Kravchenko’s interest in
  12
  13    Global, failing to include other business interests of Dr. Kravchenko, and questionably
  13
  14    characterizing Dr. Kravchenko’s amount of unsecured noncontingent debt.           In 2017, the
  14
  15    Debtors entered into a settlement with Mr. Sominsky based on his representation of Dr.
  16
  15    Kravchenko in his 2013 bankruptcy.       The settlement with Mr. Sominsky is subject to a
  17
  16    confidentiality agreement.
  18
  17           After the Court confirmed Dr. Kravchenko’s Chapter 13 plan, a dispute over the
  19    management of Global developed in the spring of 2014. As part of the dispute, the parties
  18
  20    ultimately decided to wind down the business. On June 2, 2014, Ms. Brychenko filed suit
  19
  21    against the Debtors in the Maricopa County Superior Court case number CV 2014-093763. In
  20
  22    the lawsuit, Ms. Brychenko alleged various torts related to Global’s operations and requested
  21
  23    an accounting and injunctive relief. The Maricopa County Superior Court ultimately entered a
  22
  24    temporary restraining order preventing the parties from looting the remaining assets of Global.
  23
  25           Because Dr. Kravchenko’s bankruptcy was pending when Ms. Brychenko filed suit, the
  24
  26    State Court dismissed the lawsuit because of the automatic stay. Thereafter, on June 24, 2014,
  25
  27    Ms. Brychenko filed a Motion for Relief from the Automatic Stay so she could proceed with
  26
  28    her lawsuit.   This Court ultimately accepted jurisdiction over the dispute and entered a

       {00162873 2}
Case 2:18-bk-15371-MCW                        -3-
                               Doc 36 Filed 05/03/19  Entered 05/03/19 15:53:20              Desc
                               Main Document    Page 3 of 15
   1    temporary restraining order similar to that issued by the Maricopa County Superior Court

   2    preventing the parties from looting the assets of Global. After obtaining substitute counsel, the

   33   Court entered a Stipulated Order for Dismissal in June 2015, dismissing Dr. Kravchenko’s

   44   administrative case [2:13-bk-12581 Dkt. 132].

   5              In November 2016, after multiple mediations, the parties settled the Global dispute. As
   5
   6    part of the settlement, the Debtors were entitled to collect the receivables paid to Global from
   6
   7    healthcare and insurance providers (the “Healthcare Receivables”). [2:14-ap-00591 Dkt. 246,
   7
   8    at 13]. Because the TRO was in place, Global failed to cash checks written for the Healthcare
   8
   9    Receivables and the Debtors had to request that the healthcare providers and insurers reissue
   9
  10    checks. As a result, although the Debtors had personally accounted (including in their 2014
  10
  11    and 2015 taxes) for the Healthcare Receivables, they only received the proceeds in 2018.
  11
  12                       C. Circumstances Leading To The Debtors’ Current Bankruptcy.
  12
  13              Following the dismissal of Dr. Kravchenko’s 2013 bankruptcy, he rededicated himself
  13
  14    to developing his anesthesia practice.          Dr. Kravchenko worked for Arizona Wellness
  14
  15    Anesthesia Group, Inc. (“Wellness Group”). 2 Despite Wellness Group’s initial success, Dr.

  16
  15    Kravchenko faced stiffening competition in providing anesthesia services to surgeons. Further

  17
  16    complicating matters, Wellness Group and Dr. Kravchenko’s former business associate, Chuck

  18
  17    Little, failed to pay Dr. Kravchenko approximately $270,000 for his services. Dr. Kravchenko

  19    filed suit against Wellness Group and Mr. Little in August 2018 in the Maricopa County
  18
  20    Superior Court (CV2018-096215) alleging claims for breach of contract, breach of the
  19
  21    covenant of good faith and fair dealing, unjust enrichment, and fraudulent misrepresentation.
  20
  22    Dr. Kravchenko’s case is currently stayed. Faced with limited income, substantial tax liability,
  21
  23    and business debt related to Dr. Kravchenko’s past endeavors, the Debtors filed this case on
  22
  24    December 20, 2018.
  23
  25    ///
  24
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        2
            Later renamed Arizona Wellness Group Inc.
  26
  28

       {00162873 2}
Case 2:18-bk-15371-MCW                             -4-
                                    Doc 36 Filed 05/03/19  Entered 05/03/19 15:53:20          Desc
                                    Main Document    Page 4 of 15
   1           III.    Discussion

   2           On March 22, 2019, the Grinberg wrote the Court the Letter alleging that the Debtors

   33   committed a number of misdeeds and misrepresentations. The Debtors dispute the Grinberg’s

   44   allegations as follows:

   5     Grinberg’s Allegations              Response
   5
   6     “We were advised during that        The only interaction that the Debtors have had with the
   6     case he self-reported to the        OIG is when Dr. Kravchenko responded to an OIG
   7     [OIG] for violations of the Stark   Request for Information or Assistance in 2016. There is no
   7
   8     Law because he had been paying      basis for Grinberg’s allegation that Dr. Kravchenko “had
   8     cash bribes.”                       been paying cash bribes.” Grinberg’s allegation of bribery
   9                                         was made for an improper purpose of harassing Dr.
   9                                         Kravchenko and was made without evidentiary support.
  10     “He also reported to ICE that he    Dr. Kravchenko never reported himself or his father to
  10     and his father had arranged an      ICE. Grinberg’s allegation implying that Dr. Kravchenko
  11     improper H1-B visa.”                resides in the United States illegally was made for the
  11                                         improper purpose of harassing Dr. Kravchenko and lacks
  12
                                             evidentiary support.
  12
  13     “He was also caught up in an        Dr. Kravchenko was never investigated by the SEC. Two
         SEC investigation involving the     Phoenix stockbrokers did dupe Dr. Kravchenko into
  13
  14     manipulation of a penny stock.”     purchasing shares of a company called grandparents.com.
                                             In 2016, the Securities and Exchange Commission entered
  14
  15
                                             a cease and desist order against the two brokers. See
  16
  15                                         https://www.sec.gov/litigation/admin/2016/33-10223.pdf.
         “He claimed Global stopped          Global did stop operating in 2014, as this Court is uniquely
  17
  16     operating in 2014 yet he has        aware of. The copies of checks Grinberg includes in his
         been receiving checks and           Letter [Dkt. 24, at 4-6] issued in 2018 from Global
  18
  17     depositing them into another        Anesthesia and United Health Care to the Debtors relate to
         account he has. As it looks to us   the Healthcare Receivables.         Although the Debtors
  19
  18     he can discharge our debt and       ultimately cashed the attached checks in 2018 it was
  20     keep collecting these checks        income earned (and taxes assessed or reported) from 2014
  19     which does not seem right.”         and 2015. To borrow a tax concept, under the theory of
  21                                         constructive receipt, the checks from the Healthcare
  20                                         Receivables was income, at the latest in November 2016
  22                                         when the Debtors had the unequivocal right to cash the
  21
  23                                         checks from the Healthcare Receivables, in which case its
  22                                         disclosure still would not be required by the Statement of
  24                                         Financial Affairs. Bennett v. United States, 293 F.2d 323,
  23                                         326 (9th Cir. 1961) (“Income is constructively received
  25                                         only when it is subject to the unfettered command and
  24                                         control of the prospective recipient. Though not reduced to
  26                                         possession, it must be available to the taxpayer without
  25
  27                                         restriction or limitation.”).
         “He went after his former           The Debtors did receive a settlement from Mr. Sominsky,
  26
  28     lawyer, Mr. Sominsky, and           and the Debtors have amended their Statement of Financial

       {00162873 2}
Case 2:18-bk-15371-MCW                           -5-
                                  Doc 36 Filed 05/03/19  Entered 05/03/19 15:53:20           Desc
                                  Main Document    Page 5 of 15
   1    received a settlement over Affairs to reflect this fact. The Debtors’ mistakenly
        $80,000 which he has not believed that the confidentiality provision of the settlement
   2    declared.”                       obligated the Debtors not to disclose the existence of the
                                         settlement with Mr. Sominsky or the payment in their
   33
                                         Statement of Financial Affairs.
   44   “He has a collection of Dr. Kravchenko did have a collection of Rolex watches,
        expensive watches, Rolex and which he was forced to sell in 2014. Attached as Exhibit A
   5    Patek Phillipe.”                 are the checks Dr. Kravchenko received in exchange for
   5
                                         his watches. The Debtors have never owned a Patek
   6                                     Phillipe.
   6
   7    “He also has a large expensive The only firearms owned by the Debtors are disclosed on
   7    gun collection which he has not Schedule A/B [Dkt. 16, at 4].
   8    mentioned.”
   8    “My daughter told us about The referenced shoes were purchased approximately eight
   9    women's shoes called Luboutin years ago and have considerable wear. Similar shoes are
   9    that sell for $700- thousands of frequently listed on eBay or similar websites for fixed
  10
        dollars- she is shown wearing prices well below $200.
  10    those shoes.”
  11
  11
  12    Grinberg also printed out a          The purse that Grinberg asserted to be $4,500 is a Guess
        picture of Ms. Kravchenko’s          purse that Dr. Kravchenko purchased new for
  12
  13    Instagram and with an arrow          approximately $80.
  13    next to her purse wrote
  14
        “$4,500.”
  14
  15    He has listed our debt as a          In reality, Grinberg paid Dr. Kravchenko’s ex-wife
        business debt, which it is not and   $100,000 in exchange for an ownership interest in his
  16
  15    never was.                           daughter’s failed business venture.
        We have been informed he is          Baseless.     Grinberg’s allegation of receiving cash
  17
  16    now receiving cash payments for      payments was made for an improper purpose of harassing
  18    anesthesia to lessen what his        Dr. Kravchenko and was made without evidentiary
  17    income appears to be.                support.
  19    “Summit Anesthesia is supposed       Each of the partners of Summit Anesthesia received
  18
        to pay IKMD PLLC but it gave         $25,000 in loan proceeds made to Summit Anesthesia.
  20    him a cashier's check in the         Because Dr. Kravchenko received proceeds as a loan rather
  19
        attached for $25, 000 made out       than a dividend or salary he did not initially include the
  21
  20    to him directly.”                    payments on his statement of financial affairs. In an
  22                                         abundance of caution, he will amend his Statement of
  21                                         Financial Affairs to disclose the payment.
  23    “He had enough in his IKMD           The proceeds from the IKMD check drawn from IKMD’s
  22    [account] in October to write a      Wells Fargo Bank account were not paid to Dr.
  24    $64,000 check.” Grinberg also        Kravchenko personally, but were deposited into a separate
  23    includes a copy of the $64,000       IKMD business account with MidFirst Bank. Attached as
  25
        check written from an IKMD           Exhibit B is the MidFirst Bank Statement showing a
  24    account to Dr. Kravchenko dated      deposit of $64,000 on October 8, 2018.
  26
        October 8, 2018.
  25
  27
  26
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       {00162873 2}
Case 2:18-bk-15371-MCW                       -6-
                              Doc 36 Filed 05/03/19  Entered 05/03/19 15:53:20              Desc
                              Main Document    Page 6 of 15
   1           If Grinberg wants to enforce his rights against the Debtors, he should follow the proper

   2    channels. Writing an ex parte letter rife with hyperbole and half-truths addressed only to the

   33   Judge presiding over the Debtors’ bankruptcy is hardly the appropriate manner of contesting the

   44   Debtors’ case. Grinberg, who had counsel at least through 2018, could have filed an action

   5    under § 523 or § 727 to protect his claim against the Debtors, but chose not to. Rather than
   5
   6    enforce his own rights, Grinberg has attempted to spur the United States Trustee into action by
   6
   7    invoking hearsay rumors of investigations by a slew of agencies. Neither the Court nor the
   7
   8    United States Trustee should condone such tactics.
   8
   9           IV.     Conclusion
   9
  10           One thing that the Letter got correct is that this is not Dr. Kravchenko’s first
  10
  11    bankruptcy, unfortunately. Largely due to the mishandling of his previous Chapter 13 cases,
  11
  12    which resulted in a malpractice settlement with his former counsel, Dr. Kravchenko has never
  12
  13    received the benefit of a discharge. Now, the Debtors, with new counsel, have in good faith
  13
  14    worked with the Chapter 7 Trustee and the United States Trustee to bring their current Chapter
  14
  15    7 to a close. If Grinberg believed that the Debtors filed their bankruptcy improperly, he should
  16
  15    have retained counsel to enforce his claims against the Debtors instead of attempting to poison
  17
  16    their reputation with the Court.
  18
  17           DATED: May 3, 2019
  19                                             ALLEN BARNES & JONES, PLC
  18
  20
  19                                             /s/ THA 11160
  21                                             Thomas H. Allen
  20                                             1850 N. Central Ave. Suite 1150
  22                                             Phoenix, Arizona 85004
  21                                             Attorneys for Debtors
  23
  22
  24
  23    E-FILED on May 3, 2019, with the
  25    U.S. Bankruptcy Court and copies served
  24    via ECF notice on all parties that have
  26    appeared in the case.
  25
  27    ///
  26
  28    ///

       {00162873 2}
Case 2:18-bk-15371-MCW                         -7-
                                Doc 36 Filed 05/03/19  Entered 05/03/19 15:53:20             Desc
                                Main Document    Page 7 of 15
   1    COPY mailed the same date via U.S. Mail to:

   2    Office of the U.S. Trustee
        230 N. First Avenue, Suite 204
   33   Phoenix, AZ 85003-1706

   44   David M. Reaves, Trustee
        P.O. Box 44320
   5    Phoenix, AZ 85064-4320
   5
   6    COPY mailed via U.S. Mail and e-mailed the same date to:
   6
   7    BMW Financial Services, NA, LLC Department
   7    AIS Portfolio Services, LP
   8    Acct. No. xxxxxx3751
   8    4515 N. Santa Fe Ave., Dept APS
   9    Oklahoma City, OK 73118
   9    ecfnotices@ascensioncapitalgroup.com
  10
  10
  11    /s/ Melissa Morgan
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       {00162873 2}
Case 2:18-bk-15371-MCW                       -8-
                              Doc 36 Filed 05/03/19  Entered 05/03/19 15:53:20   Desc
                              Main Document    Page 8 of 15
                     Exhibit A


Case 2:18-bk-15371-MCW   Doc 36 Filed 05/03/19 Entered 05/03/19 15:53:20   Desc
                         Main Document    Page 9 of 15
Case 2:18-bk-15371-MCW   Doc 36 Filed 05/03/19 Entered 05/03/19 15:53:20   Desc
                         Main Document   Page 10 of 15
Case 2:18-bk-15371-MCW   Doc 36 Filed 05/03/19 Entered 05/03/19 15:53:20   Desc
                         Main Document   Page 11 of 15
                     Exhibit B


Case 2:18-bk-15371-MCW   Doc 36 Filed 05/03/19 Entered 05/03/19 15:53:20   Desc
                         Main Document   Page 12 of 15
Case 2:18-bk-15371-MCW   Doc 36 Filed 05/03/19 Entered 05/03/19 15:53:20   Desc
                         Main Document   Page 13 of 15
Case 2:18-bk-15371-MCW   Doc 36 Filed 05/03/19 Entered 05/03/19 15:53:20   Desc
                         Main Document   Page 14 of 15
Case 2:18-bk-15371-MCW   Doc 36 Filed 05/03/19 Entered 05/03/19 15:53:20   Desc
                         Main Document   Page 15 of 15
